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                                UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF NEW YORK

                                 HONORABLE THOMAS J. MCAVOY

                           UNIFORM PRETRIAL SCHEDULING ORDER

STEWART SMITH

                                                                         Civil No. 5:20-CV-202

vs.                                                                                        TJM/ATB

RAPID RESPONSE MONITORING
SERVICES INCORPORATED

      Counsel for all parties having reported on the status of this action as directed
by the Court, and the Court having considered the positions of the respective
counsel regarding a schedule for the progression of the case,

           IT IS ORDERED that:

(1) THE DEADLINES SET IN THIS SCHEDULING ORDER SUPERSEDE THE
DEADLINES SET FORTH IN FED. R. CIV. P.26(a)(3) AND ARE FIRM AND WILL
NOT BE EXTENDED, EVEN BY STIPULATION OF THE PARTIES, ABSENT
GOOD CAUSE. See Fed. R. Civ. P. 16(b).

(2)  VENUE MOTIONS are to be filed within sixty (60) days of the date of this
Order following the procedures set forth in Local Rule 7.1 (b)(2) and are to be
made returnable before the assigned Magistrate Judge.

(3)    JURISDICTION MOTIONS are to be filed within sixty (60) days of the date
of this Order following the procedures set forth in Local Rule 7.1 (b)(1) (unless a
party who is not an attorney is appearing pro se, in which case L.R. 7.1 (b)(2)
should be followed) and are to be made returnable before Judge McAvoy.

(4)    JOINDER OF PARTIES: Any application to join any person as a party to
this action shall be made on or before October 16, 2020 1.

(5)    AMENDMENT OF PLEADINGS: Any application to amend any pleading in
this action shall be made on or before October 16, 2020.



(6)        DISCOVERY:

1
    The court adopts the schedule, proposed by the parties, in the civil case management plan. Dkt. no. 21.
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Fact discovery is to be completed by March 15, 2021. All discovery in this
matter is to be completed on or before June 15, 2021. Service of discovery
requests must be made a sufficient number of days before this deadline to
allow responses to be served before the cut-off. Please refer to Local Rule
16.2 (Discovery Cut-Off).

Special procedures for management of expert witnesses:

There shall be binding disclosure of the identity of expert witnesses
(including a curriculum vitae) as set forth below.

(A) Expert Reports: With regard to experts who are retained or specially
employed to provide expert testimony in the case or whose duties as an
employee of the party regularly involve giving expert testimony:

      (i)   No later than March 15, 2021, 90 days prior to the discovery
      deadline set in Paragraph (6) above, plaintiff(s) shall identify any
      expert(s) and, unless waived, shall serve on the other parties the
      expert's written report pursuant to Fed. R. Civ. P. 26(a)(2)(B).

      Note: When a treating physician is expected to be called as a witness,
      he or she must also be identified in accordance with this rule. The
      production of written reports prepared by a treating physician,
      pursuant to Fed. R. Civ. P. 26(a)(2)(B), is encouraged as an aid to
      settlement, but not required. In the case of any treating professional
      or other expert witness not required by the court's rules to provide a
      written report, the party anticipating calling the witness must also
      disclose at least 90 days prior to the close of discovery, the subject
      matter on which the witness is expected to present evidence under
      Federal Rule of Evidence 702, 703, or 705 and a summary of the facts
      and opinions to which the witness is expected to testify, pursuant to
      Fed. R. Civ. P. 26(a)(2)(C).

      (ii)  No later than May 1, 2021, 45 days prior to the discovery
      deadline set in Paragraph (6) above, defendant(s) shall identify any
      expert(s) and, unless waived, shall serve on the other parties the
      expert's written report pursuant to Fed. R. Civ. P. 26(a)(2)(B).

      (iii) No later than 30 days prior to the discovery deadline set in
      Paragraph (6) above, all parties must identify all experts who will
      contradict or rebut evidence on the same subject matter identified by
      another party under Subparagraphs 6(A)(i) and (ii) above, and unless
      waived, shall serve on the other parties such expert's written report
      pursuant to Fed. R. Civ. P. 26(a)(2)(B).


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            (iv) No deposition of experts shall be taken until after the
            exchange of the expert reports.

            (v)   Motions to preclude expert witness testimony must be filed and
            served on or before the motion deadline as set forth in Paragraph (7)
            below.

      (B) Failure to comply: The failure to comply with the deadlines set forth
      in Subparagraph (A) above may result in the imposition of sanctions,
      including the preclusion of testimony, pursuant to Fed. R. Civ. P. 16(f).

      (C) Unavailability of Expert Witness: In order to avoid the possibility of
      the unavailability of an expert witness at the time set for trial, counsel may
      preserve the testimony of such witness as outlined in Paragraph (11) below
      for use at trial. In the absence of same, the trial will proceed without such
      testimony.

(7)   MOTIONS: Other than those made under Paragraphs (2) and (3) above,
motions are to be filed on or before July 30, 2021.

      (A) Non-Dispositive Motions: Non-dispositive motions (except venue
      motions-paragraph (2) above-and motions for injunctive relief) shall NOT be
      filed until after a conference with the Magistrate Judge, which is to be
      arranged through the Courtroom Deputy Clerk assigned to the Magistrate
      Judge. Before requesting such a conference to resolve discovery disputes,
      the parties must have complied with Local Rule 7.1 (d).

      Non-dispositive motions, including discovery motions, shall be filed in
      accordance with Local Rule 7.1 (b)(2) and, except for motions for injunctive
      relief, shall be made returnable before the assigned Magistrate Judge.
      Motions for injunctive relief shall be made returnable before Judge McAvoy,
      unless the case has been referred to a Magistrate Judge pursuant to 28
      U.S.C. § 636(c) ("consent" jurisdiction).

      (B) Dispositive Motions:         Dispositive motions shall be filed in
      accordance with Local Rule 7.1(b) and shall be made returnable before
      Judge McAvoy, unless the case has been assigned to a Magistrate Judge
      on consent of the parties pursuant to 28 U.S.C. § 636(c).

(8)   TRIAL DATES:

      (A)   TRIAL READY DATE:

            (i)   When no dispositive motion is filed, the motion filing
            deadline becomes the trial ready date. The Court will issue a notice
            scheduling a Trial Date. Counsel may contact Judge McAvoy's

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             Courtroom Clerk, at any time, to request that the Court schedule a
             settlement conference or trial date.

             (ii)   When a dispositive motion is filed and the motion filing
             deadline has expired, the case is marked trial ready upon issuance
             of the motion decision. After issuance of the Court's decision on the
             motion, Judge McAvoy's Courtroom Clerk will issue a notice
             scheduling a Trial Date.

             (iii) When a dispositive motion is filed and the motion filing
             deadline HAS NOT expired, the case will continue on the pretrial
             schedule previously set in the Rule 16 Uniform Pretrial Scheduling
             Order. Any request for an extension of the Rule 16 Uniform Pretrial
             Order deadline(s) should be addressed by the assigned Magistrate
             Judge.

      (B)    TRIAL DATE: This is a jury trial.

(9)   SETTLEMENT CONFERENCE: A settlement conference pursuant to Fed.
R. Civ. P. 16(d) may be scheduled by the Court prior to the trial or as requested by
the parties. In addition to counsel, a representative of each party with full
settlement authority shall attend the settlement conference, or be available by
telephone.

      Prior to the settlement conference the parties are to have initiated settlement
discussions. Plaintiff shall submit realistic demand to defendant at least ten days
before the conference, and defendant shall respond at least three days before the
conference and shall submit a counteroffer, if appropriate. Failure to comply with
these directions may result in sanctions.

(10) ASSESSMENT OF JUROR COSTS: The parties are advised that pursuant
to Local Rule 47.3, whenever any civil action scheduled for a jury trial is postponed,
settled, or otherwise disposed of in advance of the actual trial, then, except for
good cause shown, all juror costs, including Marshal's fees, mileage, and per diem,
shall be assessed against the parties and/or their counsel as directed by the Court,
unless the Court and the Clerk's Office are notified at least one full business day
prior to the day on which the action is scheduled for trial in time to advise the jurors
that it will be unnecessary for them to attend.

(11) PRETRIAL SUBMISSIONS:

Mandatory Fed. R. Civ. P. 26(a)(3) Disclosures (Jury and Non-Jury Cases)

      (i)    Not later than thirty days before the Trial Date (as defined in
      paragraph 8(A) above) counsel shall provide to all other parties and
      electronically file with the Court the disclosures required under Fed. R. Civ.
      P. 26(a)(3).
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      NOTE: The unavailability of any witness, expert or otherwise, will not
      be grounds for a continuance. In order to the possibility of going
      forward with the trial without the testimony of an unavailable witness,
      counsel, where appropriate, shall preserve same before the trial ready
      date by written or video-taped deposition for possible use at trial.
      Please refer to the attached instruction sheet for use of video-taped
      depositions.

      Those initial pretrial disclosures must include the following:

            (i)   The name and, if not previously provided, the address
            and telephone number of each witness, separately identifying
            those whom the party expects to present and those whom the
            party may call if the need arises;

            (ii)  The designation of those witnesses whose testimony is
            expected to be presented by means of a deposition (including
            video-taped deposition), specifically identifying the pertinent
            portions of the deposition testimony to be offered; and

            (iii) An identification of each document or other exhibit,
            including summaries of other evidence, separately identifying
            those which the party expects to offer and those which the party
            may offer if the need arises.

      (B) Within fourteen days after service of the Rule 26(a)(3) initial
      pretrial disclosures, any party served with such Rule 26(a)(3)
      disclosures shall serve and electronically file with the court a list of
      any objections to the proposed use of deposition testimony
      designated by another party and objections to the admissibility of
      exhibits described in the initial disclosures, together with a summary
      of the grounds for objection.

      Note: All objections not disclosed in a timely manner in accordance
      with this rule, other than objections under Fed. R. Evid. 402 and 403,
      are waived unless excused by the Court for good cause.

      (C) Non-Jury Trials: Fourteen (14) days before the Trial Date,
      counsel shall electronically file with the court their joint pretrial
      stipulation (see subparagraph A below) and all depositions (including
      video-taped depositions) to be used at trial (see subparagraph D
      below). In addition to this and the required mandatory pretrial
      disclosures referenced above (i.e., witness, deposition excerpt, and
      exhibit lists), fourteen (14) days before the Trial Date counsel for
      each party shall electronically file with the court, with a copy to
      opposing counsel, (1) prepared findings of fact and conclusions of
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      law; (2) a letter brief concerning any evidentiary issues (see
      subparagraph C below); and (3) a trial brief (see subparagraph E
      below).

      (D) Jury Trials: Fourteen (14) days before the Trial Date,
      counsel shall electronically file with the court their joint pretrial
      stipulation (see subparagraph A below) and all depositions (including
      video-taped depositions) to be used at trial (see subparagraph D
      below). In addition, fourteen (14) days before the Trial Date
      counsel for each party shall electronically file with the court, with a
      copy to opposing counsel, (1) Court Ordered Voir Dire (attachment
      #1); (2) proposed voir dire; (3) a letter brief concerning any evidentiary
      issues (see subparagraph C below); (4) a trial brief (see subparagraph
      E below); and (5) requests to charge, including a proposed Special
      Verdict Questionnaire (see subparagraph F below).

(A) PRETRIAL STIPULATIONS: A joint pretrial stipulation subscribed by
counsel for all parties shall be electronically filed with the Court fourteen
(14) days before the Trial Date and shall contain:

      (1)    The basis of federal jurisdiction;

      (2)    A list of all exhibits which can be stipulated into evidence or that
      will be offered without objection as to foundation; and

      (3)   Relevant (1) facts not in dispute, (2) facts in dispute, and (3)
      issues of law to be considered and applied by the Court.

(B) EXHIBITS: All exhibits shall be marked for identification in the
manner prescribed below prior to the filing of the trial briefs. A complete set
of copies of the exhibits, along with the original and one copy of the exhibit
list (see subparagraph 1 below), shall be presented to the Judge's
Courtroom Deputy Clerk at the beginning of the trial.

      The exhibits shall have been inspected by the opposing party and
      copied at their expense (unless waived) NO LATER THAN
      FOURTEEN (14) DAYS PRIOR TO THE TRIAL DATE.                          All
      documents and/or papers intended as exhibits or to be used during
      the course of trial, including but not limited to, documents,
      photographs, charts, diagrams, etc., shall be marked for identification
      in the manner prescribed below and must be assembled in BINDERS
      with each document properly marked at the lower right corner for
      identification purposes as directed below. In voluminous cases,
      consult with the Judge's Courtroom Deputy Clerk for the proper
      procedure to follow.


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      *NOTE: During the course of trial, the Courtroom Deputy shall
      take charge of exhibits which are received into evidence. At the
      conclusion of the trial, the Courtroom Deputy will immediately
      return all of the exhibits to the proper parties. It is the
      responsibility of the parties to maintain the exhibits and to
      produce the exhibits for any appeal.

      (1)    EXHIBIT LISTS: The exhibits shall be listed on the form
      prescribed by the Court, a copy of which is attached to this Order.
      Counsel are to supply the exhibit number and exhibit description. The
      remaining boxes shall be left blank for the Courtroom Deputy. The
      original and one copy of the exhibit list shall be given to the Judge's
      Courtroom Deputy Clerk along with the exhibits at the beginning of
      trial.

      (2)     EXHIBIT MARKERS: Counsel shall fill in the appropriate
      markers leaving the "Date entered" and "Deputy Clerk" lines blank.
      All exhibits shall be assigned numbers by using a prefix of "P" for
      plaintiff, "D" for defendant, and "G" for Government (U.S. Attorney).

      Plaintiff's exhibits should be denoted as: P-1, P-2, P-3, etc.
      Defendant's exhibits should denoted as: D-1, D-2, D-3, etc.
      Government's exhibits should be denoted as: G-1, G-2, G-3, etc. In
      cases involving multiple defendants, the exhibits shall be denoted with
      the initial of the last name of the defendant and its numerical
      identification number.

      Stickers shall be affixed whenever possible to the lower right-hand
      corner of the exhibit. If the exhibit marker is going to cover any
      information on the exhibit, then affix the marker to the reverse side of
      the exhibit. Each exhibit shall also have an exhibit number in the
      upper right-hand corner of the exhibit. (P-1, P-2, etc. or D-1, D-2,
      etc.).

(C) EVIDENTIARY ISSUES (Motions in Limine): Fourteen (14) days
before the Trial Date, counsel shall electronically file with the Court, with a
copy to opposing counsel, a letter brief containing a concise statement of
any and evidentiary issues to be presented upon trial, citing the applicable
rules of evidence and case law.

(D) DEPOSITIONS: All depositions (including video-taped depositions)
to be used at trial shall be filed with the Clerk's Office at least fourteen (14)
days before the Trial Date. Not earlier than one week and not less than
four days prior to the Trial Date, each party shall indicate to the other party
the portion of the deposition to be offered. To the extent possible, objections
are to be resolved between the parties. Areas of unresolved disagreement

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shall be presented to the Court for ruling prior to the Trial Date. (See
attached instruction sheet for use of video-taped depositions.)

(E) TRIAL BRIEFS: Fourteen (14) days before the Trial Date, counsel
shall electronically file with the court, with a copy to opposing counsel, a trial
brief containing argument and citations on any and all disputed issues of
law, citing the applicable rules of evidence and case law.

(F) REQUESTS TO CHARGE: Fourteen (14) days before the Trial
Date, counsel shall electronically file with the Court a request to charge and
a proposed Special Verdict Questionnaire. These documents shall also be
sent in a TEXT format (i.e., WordPerfect or Word, but not .pdf format) to
Judge             McAvoy's              electronic             mail        box:
NYND_TJM_ECF_NOTICES@nynd.uscourts.gov (*Note: email address
is case sensitive.) The request to charge need only include instructions
that are specific to the law in this case regarding liability, damages, and any
unusual issues. The court has the usual boilerplate charge.

(G) COURTROOM TECHNOLOGY: If the parties intend to utilize the
courtroom equipment at the time of trial, counsel are directed to contact the
Courtroom Deputy prior to the trial date to make arrangements for training
and testing such equipment. Please keep in mind that the Court does not
provide a person to run the equipment during trial. The courtroom is
supplied with a DVD unit, visual evidence presenter, VGA connections for
laptops (no internet), and interpreter/hearing impaired headsets. All non-
proprietary DVD's (i.e., .avi, .mp3, .mp4, and .wmv) should be compatible
with the Court's DVD player, however, prior to the trial date, counsel must
confirm such compatibility for use at the time of trial. If any portion of the
DVD should be redacted, it is the responsibility of counsel to provide a
redacted copy for use at trial. Counsel may be required to utilize the visual
presenter to publish exhibits to the jury. The visual evidence presenter will
allow counsel to display documents, photos, objects, x-rays, and electronic
presentations on monitors placed throughout the courtroom and in the jury
box with touch screen monitors at all counsel tables (no internet). Please
note that audio cables are not available and counsel should provide their
own, if necessary. If you are presenting evidence through a Macintosh
laptop, a video convertor/adaptor is required and must be supplied by
counsel. In the event counsel's equipment is not compatible with the
courtroom's equipment, the Court is not responsible for supplying additional
electronic parts to remedy this. One week prior to the trial date counsel
may request that the court reporter provide a live realtime transcript or an
end of day transcript. There is a charge for these services and financial
arrangements should be made ahead of time with the court reporter.
When requesting a live realtime transcript the following is required: 1)
litigation support software, (i.e., LiveNote, Bridge, Caseview); 2) hardware
(i.e., if laptop does not have a serial port, a USB to serial adaptor is required).

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    Additional courtroom technology information may be obtained on the court's
    webpage: http://www.nynd.uscourts.gov/courtroom-technology.

    (H)   Alternative Dispute Resolution:

          The assigned Magistrate Judge has exempted this case from the
          Court's Mandatory Mediation Program.


DATED:    June 15, 2020




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                            COURT ORDERED VOIR DIRE
                        TO BE USED BY THE JUDGE AT TRIAL

CASE TITLE: STEWART SMITH vs. RAPID RESPONSE MONITORING
SERVICES INCORPORATED
CIVIL ACTION NO.: 5:20-CV-202
ASSIGNED JUDGE OR MAGISTRATE JUDGE: THOMAS J. MCAVOY

                                     ATTACHMENT #(1)

        Each attorney is required to submit the following information on behalf of his/her client
for use by the Court during Voir Dire and must be filed with the Court one week before the Final
Pretrial Conference, or any other date set by the Court.

NAMES AND ADDRESSES OF ALL PARTIES TO THE LAWSUIT:




(use additional page if necessary)

YOUR NAME, FIRM NAME, ADDRESS AND THE NAME OF ANY PARTNER OR
ASSOCIATE WHO MAY BE AT COUNSEL TABLE DURING THE COURSE OF THE TRIAL.




(use additional page if necessary)

SET FORTH THE DATE OF THE OCCURRENCE, THE PLACE OF THE OCCURRENCE AND
A BRIEF STATEMENT OF THE EVENTS CENTRAL TO THE LITIGATION.




(use additional page if necessary)

SET FORTH THE NAMES AND ADDRESSES OF ALL LAY WITNESSES TO BE CALLED.




(use additional page if necessary)

SET FORTH THE NAMES AND ADDRESSES OF ALL EXPERT WITNESSES TO BE
CALLED GIVING A BRIEF DESCRIPTION OF THEIR AREAS OF EXPERTISE.
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(use additional page if necessary)

SET FORTH A BRIEF DESCRIPTION OF EACH AND EVERY CAUSE OF ACTION IN THE
COMPLAINT.




(use additional page if necessary)

SET FORTH A BRIEF DESCRIPTION OF EACH AND EVERY AFFIRMATIVE DEFENSE
ASSERTED AS WELL AS A STATEMENT ADDRESSING ANY COUNTERCLAIMS RAISED
IN THE ANSWER.




(use additional page if necessary)




PLEASE TAKE NOTICE that any delay in jury selection occasioned by the failure to provide
this information will be explained to the jury as to the extent of the delay and the attorney
causing same and if the delay causes a one (1) day or more postponement of this trial,
appropriate monetary sanctions will be imposed by the Court.



Submitted by: ___________________________________

Date: _______________________




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   UNITED STATES DISTRICT COURT              UNITED STATES DISTRICT COURT
  NORTHERN DISTRICT OF NEW YORK             NORTHERN DISTRICT OF NEW YORK

CASE NO. 5:20-CV-202                      CASE NO. 5:20-CV-202

PLAINTIFF EXHIBIT NO.                     DEFENDANT EXHIBIT NO.

DATE ENTERED                              DATE ENTERED
      JOHN M. DOMURAD, CLERK                    JOHN M. DOMURAD, CLERK

BY: ______________________________        BY: ______________________________
            DEPUTY CLERK                              DEPUTY CLERK
    UNITED STATES DISTRICT COURT              UNITED STATES DISTRICT COURT
  NORTHERN DISTRICT OF NEW YORK             NORTHERN DISTRICT OF NEW YORK

CASE NO. 5:20-CV-202                      CASE NO. 5:20-CV-202

PLAINTIFF EXHIBIT NO.                     DEFENDANT EXHIBIT NO.

DATE ENTERED                              DATE ENTERED
      JOHN M. DOMURAD, CLERK                    JOHN M. DOMURAD, CLERK

BY: ______________________________        BY: ______________________________
            DEPUTY CLERK                              DEPUTY CLERK
    UNITED STATES DISTRICT COURT              UNITED STATES DISTRICT COURT
  NORTHERN DISTRICT OF NEW YORK             NORTHERN DISTRICT OF NEW YORK

CASE NO. 5:20-CV-202                      CASE NO. 5:20-CV-202

PLAINTIFF EXHIBIT NO.                     DEFENDANT EXHIBIT NO.

DATE ENTERED                              DATE ENTERED
      JOHN M. DOMURAD, CLERK                    JOHN M. DOMURAD, CLERK

BY: ______________________________        BY: ______________________________
            DEPUTY CLERK                              DEPUTY CLERK
    UNITED STATES DISTRICT COURT              UNITED STATES DISTRICT COURT
  NORTHERN DISTRICT OF NEW YORK             NORTHERN DISTRICT OF NEW YORK

CASE NO. 5:20-CV-202                      CASE NO. 5:20-CV-202

PLAINTIFF EXHIBIT NO.                     DEFENDANT EXHIBIT NO.

DATE ENTERED                              DATE ENTERED
      JOHN M. DOMURAD, CLERK                    JOHN M. DOMURAD, CLERK

BY: ______________________________        BY: ______________________________
            DEPUTY CLERK                              DEPUTY CLERK




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                                                                                                             Page 1 of ____
                                                        United States District Court
                                                       Northern District Of New York
Case No: 5:20-CV-202
Date: ____________________
Presiding Judge: Thomas J. McAvoy

                             □ Plaintiff                      □ Defendant              □ Court

  Exhibit    Marked for         Admitted Into
                                                  Remarks                Witness       Exhibit Description
   No.      Identification       Evidence




Exhibits Returned to Counsel (Date): _______________

Signature: ______________________________

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                                                                                                           Page _____ of _____


  Exhibit    Marked for      Admitted Into
                                                  Remarks         Witness            Exhibit Description
   No.      Identification    Evidence




Exhibits Returned to Counsel (Date): _______________

Signature: ______________________________


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             PRETRIAL & SETTLEMENT CONFERENCE STATEMENT
                         ( NOT FOR PUBLIC VIEW )
 ** THIS DOCUMENT WILL BE PROVIDED TO THE CLERK AND NOT FILED
                  IN ACCORDANCE WITH L.R. 5.7

CASE NAME: STEWART SMITH vs. RAPID RESPONSE MONITORING SERVICES
INCORPORATED

ACTION NO.: 5:20-CV-202

ASSIGNED JUDGE: THOMAS J. MCAVOY

ASSIGNED MAGISTRATE JUDGE: ANDREW T. BAXTER

        Each Attorney is required to submit the following information on behalf of his or her
client in short, concise form, in order to present a brief overview of the facts of the case. This
information will be used by the Court during the scheduled final pretrial/settlement conference
and therefore must be provided to the Court five (5) days in advance of the conference
date.

PARTY/PARTIES REPRESENTED;




(use additional page if necessary)

A BRIEF PERSONAL HISTORY REGARDING YOUR CLIENT(S);




(use additional page if necessary)

A BRIEF STATEMENT OF THE FACTS OF THE CASE;




(use additional page if necessary)

A BRIEF STATEMENT OF THE CLAIMS AND DEFENSES, i.e., STATUTORY OR OTHER
GROUNDS UPON WHICH THE CLAIMS ARE FOUND; AND EVALUATION OF THE
PARTIES' LIKELIHOOD OF PREVAILING ON THE CLAIMS AND DEFENSES; AND A


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DESCRIPTION OF THE MAJOR ISSUES IN DISPUTE; SET FORTH ANY DEMANDS OR
OFFERS FOR SETTLEMENT




(use additional page if necessary)

A SUMMARY OF THE PROCEEDINGS TO DATE;




(use additional page if necessary)

AN ESTIMATE OF THE COST AND TIME TO BE EXPENDED FOR FURTHER DISCOVERY,
PRETRIAL AND TRIAL;




(use additional page if necessary)

A BRIEF STATEMENT OF THE FACTS AND ISSUES UPON WHICH THE PARTIES
AGREE;




(use additional page if necessary)

ANY DISCREET ISSUES WHICH, IF RESOLVED, WOULD AID IN THE DISPOSITION OF
THE CASE;




(use additional page if necessary)

THE RELIEF SOUGHT;




(use additional page if necessary)

THE PARTIES' POSITION ON SETTLEMENT, INCLUDING PRESENT DEMANDS AND
OFFERS, THE HISTORY OF PAST SETTLEMENT DISCUSSIONS, OFFERS AND
DEMANDS;
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(use additional page if necessary)

PREFERRED TRIAL LOCATION, APPROXIMATE LENGTH OF TRIAL, AND WHETHER
TRIAL IS JURY OR NON-JURY;




(use additional page if necessary)

       The Court requires that each party be represented at each pretrial conference by an
attorney who has the authority to bind that party regarding all matters identified by the Court for
discussion at the conference and all reasonably related matters including settlement authority.

     Copies of the settlement statement shall NOT be served upon the other parties. This
document will not be filed and will not be made available for public view.

        Should the case be settled in advance of the pretrial/settlement conference date,
counsel are required to notify the court immediately. Failure to do so could subject counsel for
all parties to sanctions.

Signature of Counsel:       ______________________________

Dated:                      ______________________________




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AO 85 (Rev. 01-09) Notice, Consent and Reference of a Civil Action to a Magistrate Judge



                                               UNITED STATES DISTRICT COURT
                                                                           for the

_________________________________________________ District of                          ______________________________________________


__________________________________________________
                      Plaintiff
                        v.                                                                 Civil Action No.

__________________________________________________
                      Defendant


                   NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

         Notice of a Magistrate Judge's availability. A United States Magistrate Judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may then be
appealed directly to the United States Court of Appeals like any other judgment of this court. A Magistrate Judge may exercise this
authority only if all parties voluntarily consent.

         You may consent to have your case referred to a Magistrate Judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judgment who may otherwise be
involved with your case.

        Consent to a Magistrate Judge's authority. The following parties consent to have a United State Magistrate Judge conduct all
proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

          Parties' printed names                      Signatures of parties or attorneys                      Dates

_______________________________ _______________________________________ _________________________

_______________________________ _______________________________________ _________________________

_______________________________ _______________________________________ _________________________

_______________________________ _______________________________________ _________________________

                                                                     Reference Order

         IT IS ORDERED: This case is referred to a United States Magistrate Judge to conduct all proceedings and order the entry of a
final judgment in accordance with 28 U.S.C. §636(c) and Fed.R.Civ.P.73.


Date:     ___________________________                                              _______________________________________________
                                                                                                 District Judge's Signature

                                                                                   _______________________________________________
                                                                                                 Printed name and title

Note: Return this form to the clerk of the court only if you are consenting to the exercise of jurisdiction by a United States Magistrate
Judge. Do not return this form to a Judge.




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